Case: 19-1583   Document: 94 Page:
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                 United States Court of Appeals
                                  For the First Circuit
                                     _____________________
 Nos.   19-1583
        19-1626
                                         UNITED STATES,

                                              Appellant,

                                                  v.

                                        DAPHNE MOORE,

                                       Defendant, Appellee.
                                       __________________

                                           JUDGMENT
                                       Entered: June 16, 2020

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

          Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 district court's orders are reversed, and the matter is remanded with instruction to deny the motions
 to suppress.

                                                       By the Court:
                                                       Maria R. Hamilton, Clerk

 cc:
 Hon. William G. Young
 Robert Farrell, Clerk, United States District Court for the District of Massachusetts
 Donald Campbell Lockhart
 Randall Ernest Kromm
 Amy Harman Burkart
 Katharine Ann Wagner
 Linda J. Thompson
 John M. Thompson
 Alexander A. Berengaut
 Trisha Beth Anderson
 Matthew R Segal
 Jessie J. Rossman
 Nathan Wessler
 Brett Max Kaufman
